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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

Target Corporation, a Minnesota corporation,

                    Plaintiff,                 Case No. 0:19-cv-02916 (WMW/DTS)

      v.

ACE American Insurance Company, a
Pennsylvania corporation, and ACE Property
& Casualty Insurance Co., a Pennsylvania
corporation,

                    Defendants.



      TARGET CORPORATION’S MEMORANDUM IN SUPPORT OF ITS
            MOTION FOR PARTIAL SUMMARY JUDGMENT
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I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       In December 2013, Target Corporation learned that it had been the victim of a

massive data breach that occurred after a hacker installed malware on its computer

network and stole payment card data and personal contact information for millions of

Target’s customers. Once alerted to the data breach, Target promptly contained the

attack and notified its customers. But it cost Target approximately $292 million to

investigate the incident, remediate the breach, and compensate its customers, vendors,

and payment card issuers for their losses. One of the most significant losses for which

Target was responsible was the replacement of tens of millions of credit and debit cards

that could no longer be used because of the data breach.

       Fortunately, like many large businesses, Target had already paid millions of

dollars in premiums to secure insurance coverage to protect it against some of the losses

that it, and its customers and vendors, incurred as a result of the data breach. Also

fortunately, Target’s cyber insurers and director and officer insurers paid for losses

covered under their respective insurance programs. Some of Target’s commercial

general liability (“CGL”) also informally resolved Target’s claim for a portion of the

losses covered under the CGL policies. But there was one holdout among the CGL

insurers: ACE American Insurance Company and its sister company ACE Property &

Casualty Insurance Company (collectively, “ACE”), which declined coverage and

refused to pay. Target therefore filed this insurance coverage action–the only legal action

it has had to file to obtain insurance coverage for data breach losses.




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       By this motion, Target seeks a declaration that the ACE policies provide coverage

for certain sums that Target was legally obligated to pay to settle claims for damages

because of “property damage,” specifically, the cost of replacing the physical payment

cards rendered useless by the data breach, with the precise amount of coverage to be

determined at trial. These costs fall squarely within the ACE Policies’ coverage for

property damage losses, which are defined to include damages resulting from the “loss of

use of tangible property that is not physically injured.” (Emphasis added.) Put simply,

Target seeks a determination by the Court that the insurance policy language covers

Target’s losses as a matter of law. The amount of those losses will be an issue for trial.

       The coverage claim is straightforward: When cyber criminals obtain cardholders’

private financial account and PIN information, the physical payment cards associated

with those accounts can no longer perform their intended function, i.e., provide the

cardholder (and only the cardholder) safe and secure access to financial accounts. That

the card could, in theory, still be used does not mean that it can function as a valid

payment card. A front-door lock whose key has been copied and distributed among the

town’s criminals, for example, can still be “locked” with the key, but the lock has “lost its

use” as an object that protects the home from intruders and must be replaced. Likewise,

continuing to use hacked payment cards after a data breach would subject cardholders to

great risk of fraud and theft and so can no longer serve their intended purpose. The cards

have lost their use. Thus, when a data breach occurs, banks that issue payment cards

needed to change account information and incur significant costs to create and distribute

new payment cards. The issuing banks asserted claims against Target for those costs, and


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Target, in turn, tendered those claims to ACE for coverage as damages resulting from the

“loss of use” of tangible property that is not physically injured.

       ACE’s refusal to provide coverage for these claims has no valid basis in the

insurance policy language or Minnesota law. As is described below, each of ACE’s

arguments against coverage—e.g., that coverage is only available for a complete “loss of

use” and that the “loss of use” did not arise form an “Occurrence”—all boil down to an

effort to rewrite the policies that ACE drafted and sold to Target, to insert restrictions on

coverage for which ACE never bargained and to which Target never agreed. But

Minnesota law does not permit ACE to rewrite its contracts of insurance now that a claim

has arisen. Rather, Target’s rights and ACE’s obligations are governed instead by the

language actually contained in the insurance policies, not the language that ACE now

wishes they had contained (let alone ACE’s impression of what its policies should cover).

       For these reasons, as is discussed further below, the Court should grant this motion

for partial summary judgment and should declare that the ACE Policies cover Target’s

insurance claim, subject to proof at trial of the amount of the covered loss.

II.    FACTUAL BACKGROUND

       A.     The ACE Policies

       Like many large businesses, Target purchases a tower of CGL insurance policies

each year to protect itself against third party lawsuits and claims, like the claims and

lawsuits arising out of the December 2013 data breach. For the year beginning on

February 1, 2013, four of the policies in Target’s CGL tower were triggered by claims

made by financial institutions for the costs associated with replacing payment cards that


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were compromised during the data breach. Only two of the CGL policies in that tower

are at issue in this case, both issued by ACE: a primary policy bearing policy number

G27017381 (“the Primary Policy”), and a third layer excess policy (“the Excess Policy”)

bearing policy number G27048985. See Declaration of Amanda Lagatta (“Lagatta

Decl.”) Exs. A & B (collectively, the “ACE Policies”).

      As the chart below reflects, the ACE Primary Policy is the foundation of the

tower. It provides $4.5 million in coverage for each occurrence (less a $2.5 million

deductible), in excess of a $500,000 self-insured retention. The ACE Excess Policy

provides $25 million in coverage (with no deductible) in excess of $55 million:




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As noted, Target has resolved this claim with the first and second excess layer CGL

insurers (National Union Fire Insurance Company and XL Insurance America Inc.); it is

only the ACE Policies that are at issue in this motion. Lagatta Decl. ¶ 20.

       The Primary Policy’s insuring agreement requires ACE to pay “for the ‘ultimate

net loss’ ... because of ... ‘property damage’ to which this insurance applies.” Lagatta

Decl. Ex. A at 12 of 230. “Ultimate net loss” is defined to include settlement payments

and defense costs. Id. at 30 of 230.1 Similarly, the Excess Policy requires ACE to pay

for “‘loss’ arising out of an ‘occurrence’” once “all ‘underlying insurance’ has been

exhausted by the payment of the limits of such insurance for covered injury or damage

that takes place during our [i.e., ACE’s] policy period.” Lagatta Decl. Ex. B at 5 of 21.

Again, “loss” is defined to include settlement payments and defense costs. Both ACE

Policies have the standard definition of “Occurrence,” that is, an “accident, including

continuous or repeated exposure to substantially the same general harmful conditions.”

Lagatta Decl. Ex. A at 29 of 230; Ex. B. at 7 of 21(incorporating the substantively

identical definition of the National Union excess policy, id. Ex. C at 9 of 113).

       Both ACE Policies contain the same definition of “property damage,” and it is that

definition which is at the heart of this dispute. ACE defines “property damage” in

pertinent part as:




1
        In contrast to many primary CGL policies, defense costs erode the limits of
liability of the Primary Policy. For that reason, and because the self-insured retention is
substantial, the Primary Policy is sometimes described as providing “umbrella” coverage.


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              b. Loss of use of tangible property that is not physically
              injured. All such loss of use shall be deemed to occur at the
              time of the “occurrence” that caused it.

Lagatta Decl. Ex. A at 30 of 230; Ex. B at 7 of 21 (incorporating the substantively

identical definition of the National Union excess policy, Ex. C at 10 of 113).

       In short, the first, and key, issue in this motion is whether Target’s liability for

replacing credit and debit cards affected by the data breach—as described in the section

below—constitutes “loss of use of tangible property that is not physically injured.”

Target submits that its losses fall within this definition as a matter of law, and as a result,

that they are covered under the ACE Policies. See Section IV.A below.

       B.     The Data Breach and Financial Institutions Litigation

       The facts material to this motion are not in dispute. In December 2013, Target

discovered that hackers had gained access to its networks and had stolen information

associated with tens of millions of payment cards. Target took immediate steps to stop

the breach and remediate its networks. Lagatta Decl. ¶ 5.

       As a result of the data breach, Target faced multiple lawsuits, including lawsuits

from banks that issued payment cards (the “Issuing Banks”). These lawsuits were

consolidated before Judge Paul Magnuson as MDL No. 14-2522 (D. Minn.). The Issuing

Banks claimed that, as a result of the data breach, the physical payment cards associated

with compromised accounts could no longer be used without a significant threat of

unauthorized use and fraud. See Lagatta Decl. Ex. E ¶ 85. The Issuing Banks further

claimed that they had been forced to dedicate “significant capital and human resources”

to cancelling and reissuing these physical payment cards. See id. ¶¶ 85-86. The Issuing


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Banks sought substantial damages from Target. Target provided prompt notice of these

claims to ACE, which denied coverage. Lagatta Decl. ¶¶ 6-7.

       In May 2016, Target reached a settlement in the class action lawsuit brought on

behalf of a class of Issuing Banks for approximately $58 million, which the district court

approved. See Lagatta Decl. Ex. H. Target also reached confidential settlements with

the major card issuers, Visa, MasterCard, American Express, and Discover (the “Card

Brands”) on behalf of most of their affiliated Issuing Banks, for the payment card claims

for a total of roughly $80 million. See Lagatta Decl. ¶¶ 14-15. In total, Target settled

these claims for approximately $138 million. Id. ¶ 15.

       This $138 million in settlements resolved all of the financial institutions’ claims

against Target. The value of the settlements was calculated based on two types of losses:

the cost of replacing physical payment cards, and the costs associated with alleged fraud

committed with compromised payment cards. In seeking coverage from ACE, Target is

exclusively seeking indemnification for the losses associated with the former item:

payment card replacement costs. Target is not seeking to recover damages related to

credit card fraud.

       The precise allocation of damages between card replacement and fraud is not at

issue on this motion for partial summary judgment.2 Instead, the sole question in this

motion concerns the interpretation of the language of the ACE Policies: whether that


2
       Target alleges, and has provided documents to ACE demonstrating, that the total
amount properly allocated to the costs of payment card replacement falls within ACE’s
aggregate coverage layer. But the precise quantum of loss and allocation of damages are
not presented by this motion.


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language encompasses the amounts that Target paid to resolve third party claims for

payment card replacement costs. That contract interpretation issue presents a question of

law that both ACE and Target agree is appropriate for resolution on summary judgment.

See Dkt. No. 20 at 7 (“The parties agree that a central issue in this case—whether

Defendants’ insurance policies provide coverage for Target’s insurance claims—is a

question of law that should be amenable to summary judgment immediately following the

parties’ initial disclosures.”); see also Fed. R. Civ. P. 57 (“The court may order a speedy

hearing of a declaratory-judgment action.”). To the extent that the Court finds coverage

is available for these payment card replacement costs, “the only remaining issue to be

decided would be the amount of damages.” Dkt. No. 20 at 7

III.   THE LEGAL STANDARDS GOVERNING THIS MOTION

       A.     Summary Judgment Standard

       A court must grant summary judgment when “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). Disputes over the meaning of

language in an insurance policy, like the one presented by this motion, are especially

appropriate for summary judgment because “[t]he interpretation of an insurance policy is

a question of law as applied to the facts presented.” Star Windshield Repair, Inc. v. W.

Nat’l Ins. Co., 768 N.W.2d 346, 348 (Minn. 2009); see also Saint Paul Fire & Marine

Ins. Co. v. Lippincott, 287 F.3d 703, 705 (8th Cir. 2002). The only circumstance in

which a court submits the interpretation of an insurance policy to a jury is when the Court

has determined both that (1) the relevant policy language is ambiguous; and (2)


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controverted extrinsic evidence bears on that ambiguity. See Turner v. Alpha Phi

Sorority House, 276 N.W.2d 63, 66 (Minn. 1979).

       Thus, as the Eighth Circuit put it, “even if there were an ambiguity in the contract

of insurance, it is for the court to construe the contract unless its interpretation is

dependent upon the resolution of controverted extrinsic evidence.” Otten v. Stonewall

Ins. Co., 511 F.2d 143, 147 (8th Cir. 1975) (Minnesota law); see also id. (reversing

judgment because the judge permitted “the jury rather than the judge to construe the

alleged ambiguity” when there was no controverted extrinsic evidence). Neither ACE

nor Target has identified any controverted extrinsic evidence bearing on the interpretation

of the “loss of use” provision in the ACE Policies, the legal issue presented by this

motion. It is thus the Court’s role to interpret that language as a matter of law and

determine whether ACE provides coverage.

       B.     Minnesota’s Rules Of Insurance Policy Interpretation

       The rules that apply to the interpretation of insurance policy language under

Minnesota law are well-established. Insurance coverage depends on the words in the

insurance policy itself. See Eng’g & Constr. Innovations, Inc. v. L.H. Bolduc Co., 825

N.W.2d 695, 704 (Minn. 2013). Thus, the “objective when interpreting insurance

contracts is to ‘ascertain and give effect to the intentions of the parties as reflected in the

terms of the insuring contract.’” Id. “[W]e read the terms of an insurance contract ‘in the

context of the entire contract,’ and do not construe terms so strictly ‘as to lead to a harsh

and absurd result.’ ... We will not adopt a ‘construction of an insurance policy which

entirely neutralizes one provision ... if the contract is susceptible of another construction


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which gives effect to all its provisions and is consistent with the general intent.’” Id. at

705.

       “Where the language of an insurance policy ‘is clear and unambiguous,’”

Minnesota courts will “effectuate the intent of the parties by interpret[ing] the policy

according to plain, ordinary sense.” Id. at 704-05 (citation and internal quotation marks

omitted); see also Owners Ins. Co. v. European Auto Works, Inc., 695 F.3d 814, 822 (8th

Cir. 2012) (“If a ‘narrow, technical definition ... was intended by the insurance

companies, it was their duty to make that intention clear.’”) (quoting Minn. Mining &

Mfg. Co. v. Travelers Indem. Co., 457 N.W.2d 175, 181 (Minn. 1990)). “An insurance

policy is ambiguous, however, ‘if it is susceptible to two or more reasonable

interpretations.’ ... We resolve ambiguous terms against the insurer, and construe such

terms in favor of providing coverage to the insured.” Eng;g & Constr. Innovations, 825

N.W.2d at 705. In determining whether an insurance policy covers a claim, therefore,

“policy words of inclusion within an insurance contract are ‘broadly construed, and

words of exclusion are narrowly considered.’” Westfield Ins. Co. v. Robinson Outdoors,

Inc., 700 F.3d 1172, 1174 (8th Cir. 2012) (Minnesota law) (citation omitted).

IV.    ARGUMENT

       The insuring agreements in the ACE Polices set forth three relevant requirements

for coverage: the losses must (1) arise out of an “Occurrence” (2) resulting in the “loss of

use” (3) of “tangible property that is not physically injured.” Lagatta Decl. Ex. A at 12,

30 of 230; Ex. B at 5 of 21; Ex. C at 10 of 113. Once Target demonstrates that the

settlement it paid to the Issuing Banks and Card Brands meets these threshold


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requirements, the burden then shifts to ACE to show that an exclusion limits or

eliminates coverage. See Midwest Family Mut. Ins. Co. v. Wolters, 831 N.W.2d 628, 636

(Minn. 2013) (“While the insured bears the initial burden of demonstrating coverage, the

insurer carries the burden of establishing the applicability of exclusions.”) (citation

omitted). As described in Section IV.A below, all three requirements are met, and ACE

cannot show that an exclusion bars coverage, see Section IV.B.

       A.     The Data Breach Settlement Includes Losses Covered by the ACE
              Policies

              1.     The Data Breach Was an “Occurrence”

       The first of the three requirements in the property damage insuring agreement is

easily met here. The loss for which Target seeks coverage—i.e., the portion of the

settlement payment associated with the costs of replacing payment cards—arises out of

an “Occurrence,” i.e., the data breach.

       As noted above, the ACE Policies use the standard CGL definition of

“Occurrence,” that is, an “accident, including continuous or repeated exposure to

substantially the same general harmful conditions.” Lagatta Decl. Ex. A at 29 of 230;

Ex. B. at 7 of 21 (incorporating the identical definition in the National Union Excess

Policy, id. Ex. C at 9 of 113). The Minnesota Supreme Court has interpreted this

language broadly: “As any dictionary says, an accident is simply a happening that is

unexpected and unintended.” McIntosh v. State Farm Mut. Auto. Ins. Co., 488 N.W.2d

476, 478 (Minn. 1992). Critically, whether an accident is “unexpected and unintended”

is determined from the standpoint of the policyholder, Target. So long as the



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policyholder lacked the “specific intent to injure,” a third party’s intent to injure does not

preclude coverage. See Am. Family Ins. Co. v. Walser, 628 N.W.2d 605, 612 (Minn.

2001); see also W. Nat’l Mut. Ins. Co. v. Frost Paint & Oil Corp., No. C3-97-1118, 1998

WL 27247, at *1 (Minn. Ct. App. Jan. 27, 1998) (“[T]here is an ‘occurrence’ as long as

the insured did not engage in conscious wrongdoing.”).

       There can be no serious question but that the data breach was an unexpected and

unintended “happening” from Target’s standpoint and, thus, an “Occurrence” under the

ACE Policies. Target was the victim of a cyberattack. There is no evidence that Target

had a “specific intent” to compromise the account data of millions of its customers. It

would be entirely unreasonable to suggest that Target intended to engage in conduct that

heaped immense liabilities on it. This is just common sense. But more important, it is

also what the Issuing Banks alleged. They asserted that the data breach was a result of

Target’s negligent conduct in failing to stop a third party from accessing private

consumer data. At the time of settlement, the operative complaint contained no

allegations of intentional misconduct. See Lagatta Decl. Ex. E ¶¶ 100-126; see also id.

Ex. F (order granting in part Target’s motion to dismiss). Negligence is a quintessential

“accident” as that term is used in CGL policies. See Milbank Ins. Co. v. B.L.G., 484

N.W.2d 52, 58 (Minn. Ct. App. 1992) (“[T]he term ‘accident’ includes all negligently

caused injury, provided such injury was not intentional.”).

       That Target was alleged to be responsible for losses resulting from the intentional

misconduct of third parties does not change the result. Minnesota law recognizes the

existence of an “Occurrence” under standard form CGL policy language when an


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allegedly negligent policyholder is held liable for damages resulting from the intentional

acts of a third party. See, e.g., Mork Clinic v. Fireman’s Fund Ins. Co., 575 N.W.2d 598,

600-02 (Minn. Ct. App. 1998) (negligent hiring and supervision claims against insured

employer arising out of employee’s alleged intentional sexual abuse constitutes a covered

“Occurrence”); Am. Emp’rs Ins. Co. v. Doe, 165 F.3d 1209, 1211-12 (8th Cir. 1999)

(same); see also Travelers Indem. Co. v. Bloomington Steel & Supply Co., 718 N.W.2d

888, 894-95 (Minn. 2006) (sole shareholder’s intent to cause physical injury could not be

imputed to insured corporation); RAM Mut. Ins. Co. v. Meyer, 768 N.W.2d 399, 404

(Minn. Ct. App. 2009) (“[T]he word ‘accident’ is defined to include unintended

consequences of an insured’s actions”).

       ACE argues in its portion of the Rule 26(f) Report that the “loss of use” of the

payment cards did not arise from an “Occurrence” because those payment cards were

“intentionally” deactivated by the Issuing Banks after the data breach. See Dkt. No. 20 at

3. In ACE’s view, this “intentional” act severs the connection between the “Occurrence”

and the “loss of use,” purportedly vitiating coverage under the ACE Policies. Id. That

argument fails for three reasons.

       First, as described in Section IV.A.3 below, the “Occurrence” caused harm at the

moment of the breach, not solely when the Issuing Banks deactivated the payment cards.

Payment cards are used to safely and securely permit cardholders (and only cardholders)

to purchase goods and services. The payment cards could no longer be safely and

securely used after a breach and before the Issuing Banks deactivated them, because the

cyber criminals (or purchasers of their illegally-obtained information) could use the


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cardholders’ account and PIN information to make such purchases for themselves. See

Lagatta Decl. Ex. E ¶¶ 85-86. For example, a car’s use is lost when a leaking gas tank

renders it unsafe to drive. It is not reasonable to assert that a “loss of use” has not yet

occurred simply because a driver could attempt to drive the car anyway, at the risk of

further damage to the car (as well as serious injury to the driver). See, e.g., Netherlands

Ins. Co. v. Main Street Ingredients, LLC, 745 F.3d 909, 916 (8th Cir. 2014) (accidental

sale of unfit food product constituted an “Occurrence,” despite subsequent voluntary

recall of the unfit products) (Minnesota law).

       Second, it makes no difference if the loss of use of the payment cards had been

triggered by the Issuing Bank’s formal deactivation of the cards. Under the insurance

policy language, there is coverage if the “Occurrence” arose from or was caused by the

data breach. Lagatta Decl. Ex. A at 12 of 230; Ex. B at 5 of 21. Under Minnesota law,

“[t]he phrase ‘arising out of’ is broadly construed,” Dougherty v. State Farm Mut. Ins.

Co., 699 N.W.2d 741, 744 (Minn. 2005), and “generally connotes originating from,

growing out of, or flowing from.” Metro. Prop. & Cas. Ins. Co. v. Adamez ex rel.

Adamez, 102 F. Supp. 3d 1080, 1084 (D. Minn. 2015); see also Hauenstein v. Saint Paul-

Mercury Indem. Co., 65 N.W.2d 122, 126 (Minn. 1954) (property damage that was “an

unexpected, unforeseen, or undesigned happening or consequence from either a known or

unknown cause” was “caused by accident”). It is thus not necessary, as ACE appears to

assume, that there be no intentional acts in the causal chain between the “Occurrence”

and the “loss of use.” The policy language does not require that the “loss of use” arise

solely from the “Occurrence”; the loss only must “flow[] from” the unexpected


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happening. In this case, the replacement costs “flow[] from” the data breach, as the

Issuing Banks made the reasonable (and necessary) decision to deactivate and replace the

affected payment cards after the data breach rendered their use unsafe.

       In fact, parties must almost always take such necessary actions to mitigate and

address the risks to life and property caused by an “Occurrence.” This is precisely why

plaintiffs seek damages—because as a result of someone else’s negligence, they are

forced to spend money to fix a problem. Taking steps to remedy another’s negligence

does not eliminate the damages; rather, it defines the scope of the damages. Thus, when

a policyholder borrows a neighbor’s front-door key, and the key is stolen and copied as

the result of the policyholder’s negligence, that policyholder may be held liable for—and

CGL insurance would then cover—all of the neighbor’s damages, including the cost of

re-keying the door. The “Occurrence” is not the intentional call to the locksmith, or the

intentional decision to re-key the lock; it is the fact that the key was stolen as a result of

the policyholder’s negligence, which was accidental from the standpoint of the

policyholder. The cost of the locksmith’s “intentional” re-keying is part of the resulting

damage from the “Occurrence.”

       ACE’s argument thus improperly conflates the accident with the remedy,

suggesting that when the Issuing Banks fixed the problem caused by the data breach, that

undid the fact that the property damage “flow[ed] from” an “Occurrence” in the first

place. The reasonable and necessary steps that the Issuing Banks took to mitigate the

harm caused by the data breach by reissuing payment cards that had been rendered

useless arose from (and was rendered necessary by) the data breach.


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       Third, ACE’s position is also contrary to Eighth Circuit authority. In Eyeblaster

Inc. v. Federal Insurance Co., 613 F.3d 797 (8th Cir. 2010)—discussed in greater detail

in Section IV.A.3.a below—the Eighth Circuit, applying Minnesota law, found that the

cost of a computer whose operations had been limited by a spyware attack was covered

as the “loss of use of tangible property that is not physically injured,” despite the fact that

the owner of the computer necessarily made an “intentional” decision to replace it once

the computer became infected. Id. at 801-802. The Eighth Circuit’s reasoning is equally

applicable to this case. If ACE were right that the steps taken to fix a problem eliminates

the possibility of an “Occurrence,” then the decision to dispose of the infected computer

would have severed the relationship between the spyware attack and the loss of use of the

computer, and the Eighth Circuit could not have held that the CGL policy covered the

loss. That the Eighth Circuit did find coverage means, consistent with other Minnesota

cases, that the intervening acts of a third party to mitigate damage does not sever the

connection between loss of use and an “Occurrence.”

                                    *      *        *     *

       For these reasons, Target’s liability for the payment card replacement costs arose

from an “Occurrence” as required by the ACE Policies.

              2.      Payments Cards are “Tangible Property That is Not Physically
                      Injured”

       The second requirement does not appear to be in dispute: payment cards replaced

by the Issuing Banks were “tangible property that is not physically injured.” Every court

to have considered this question has concluded, consistent with common sense, that



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plastic payment cards constitute “tangible property.” “[T]hey are palpable, can be

touched, [are] capable of ownership, and [are] endowed with intrinsic value.” Pa. State

Empls. Credit Union v. Fifth Third Bank, No. 1:CV-04-1554, 2005 U.S. Dist. LEXIS

42334, at *33 (M.D. Pa. May 3, 2005); see also Block Fin. Corp. v. Lendingtree, Inc.,

No. 01–1007–CV–W–ODS, 2007 WL 2885158, at *2-3 (W.D. Mo. Sept. 27, 2007)

(“financial card” such as credit or debit card is properly defined, in part, as “a tangible

piece of plastic”); J. C. Penney Nat’l Bank v. Johnson, 19 S.W.3d 831, 840 (Tenn. Ct.

App. 1999) (“a credit card is tangible in that it can be seen and touched”). Even ACE

admits that these payment cards are “a piece of tangible plastic.” Dkt. No. 20 at 3.

       Because there is also no dispute that the physical payment cards were “not

physically injured” by the data breach, Target has satisfied the second requirement for

coverage under the ACE Policies.

              3.     The Data Breach Resulted in the “Loss of Use” of the Payment
                     Cards

       The last relevant requirement for coverage is also met here: the tens of millions of

affected payment cards could no longer perform their intended function as a result of the

data breach, and they thus had to be replaced at great expense to the Issuing Banks (and

ultimately, to Target). ACE disputes this obvious conclusion, but its arguments either

contradict the plain language of the ACE Policies, Eighth Circuit authority, or both. As a

matter of law, the data breach resulted in the “loss of use” of the affected payment cards.

                     a)      Both the Plain Meaning of the Policy Language and
                             Eighth Circuit Authority Demonstrate that the Data




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                             Breach Resulted in the “Loss of Use” of the Payment
                             Cards

       The Court’s analysis of what constitutes the “loss of use” of tangible property that

is not physically injured must be guided by, and ultimately conform to, the Eighth

Circuit’s interpretation of the standard CGL policy’s “loss of use” provision under

Minnesota law.3 The Eighth Circuit’s Eyeblaster decision addressed this precise issue

and confirms that Target has met the “loss of use” requirement.

       In Eyeblaster, the underlying plaintiff alleged that his computer had been infected

by spyware as a result of Eyeblaster’s internet advertising, and that attempts to repair the

computer only restored its most basic functions. Eyeblaster, 613 F.3d at 801. The

underlying plaintiff sought from Eyeblaster the cost of replacing its computer, among

other damages. Id. at 802. Eyeblaster tendered its defense to Federal Insurance

Company under two policies (including its CGL policy) but Federal refused to defend.

Id. at 799. Eyeblaster then brought a declaratory relief action in the District of Minnesota

and the district court granted Federal’s motion for summary judgment. Id. at 799-800.

       The Eighth Circuit reversed, holding that Federal owed a duty to defend

Eyeblaster under both of Eyeblaster’s insurance policies, including its CGL policy’s “loss

of use” grant of coverage:

              He thus argues that his computer is no longer usable, as he
              claims among his losses “the cost of his existing computer”…

3
       See Neidenbach v. Amica Mut. Ins. Co., 842 F.3d 560, 566 (8th Cir. 2016)
(“‘Absent an intervening opinion by a [state] court,’ we are bound by a prior panel’s
interpretation of state law.”); see also Kokins v. Teleflex, Inc., 621 F.3d 1290, 1295 (10th
Cir. 2010) (district courts are bound by federal circuit court’s prior interpretation of state
law); Batts v. Tow-Motor Forklift Co., 66 F.3d 743, 747 (5th Cir. 1995) (same).


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              The plain meaning of tangible property includes computers,
              and the Sefton complaint alleges repeatedly the “loss of use”
              of his computer. We conclude that the allegations are within
              the scope of the General Liability policy.

Id. at 802 (emphasis added).

        That Eyeblaster involved the duty to defend (as opposed to the duty to indemnity)

does not make a difference for present purposes. Although the duty to defend is broader

than the duty to indemnify, if there can be no duty to indemnify as a matter of law, there

is no duty to defend. Woida v. N. Star Mut. Ins. Co., 306 N.W.2d 570, 574 (Minn. 1981).

In other words, a duty to defend exists if a plaintiff alleges a loss within the scope of

coverage. Prahm v. Rupp Constr. Co., 277 N.W.2d 389, 390 (Minn. 1979). If the

plaintiff does not allege a loss within the scope of coverage, no duty to defend can exist.

Id. Thus, the Eighth Circuit could not have reached its decision in Eyeblaster without

holding that the plaintiff in that case alleged a loss within the scope of coverage as a

matter of law. If ACE were correct—i.e., if coverage for “loss of use of tangible property

that is not physically injured” could not apply in this situation as a matter of law—then

Eyeblaster would not have found that the plaintiffs’ allegations triggered a duty to

defend. That the Eighth Circuit did so confirms that coverage is available for Target’s

loss.

        ACE may attempt to distinguish Eyeblaster on the ground that the underlying

plaintiff also complained that he had spent thousands of dollars reconstructing tax returns

stored on the computer. That would be wrong, because the Eighth Circuit did not

consider that cost in its analysis, let alone base its interpretation of the “loss of use”



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provision on that fact. See Eyeblaster, 613 F.3d at 802-03. For the Eighth Circuit, it was

sufficient that the computer was tangible property and that the spyware that infected the

computer had rendered at least some of its functions unusable. Id. The Eighth Circuit

did not require that the computer be entirely unusable for any purpose to trigger CGL

coverage for loss of use; rather, the Court found coverage even though the computer

apparently retained some basic functionality.

       The same logic applies to Target’s claim. Both the computer in Eyeblaster and the

payment cards at issue in this action lost their ability to function as intended as a result of

the respective cyber-attacks. Payment cards permit consumers to purchase goods and

services because they are connected to each consumer’s account at a financial institution.

Lagatta Decl. Ex. E ¶ 17; see also In re Payment Card Interchange Fee and Merch. Disc.

Antitrust Litig., 986 F. Supp. 2d 207, 214 (E.D.N.Y. 2013), rev’d, 827 F.3d 223 (2d Cir.

2016). An essential function of payment cards is that each card applies exclusively to the

cardholder’s own debts (i.e., the charges that the cardholder makes) and not to the

fraudulent charges of some third person. When the data connected to those accounts is

compromised (such that someone besides the consumer could withdraw the cardholder’s

funds or make purchases on the cardholder’s line of credit), the physical payment cards

associated with those compromised accounts cannot safely be used without the risk of

fraud. See Lagatta Decl. Ex. E ¶ 85 (alleging that “possession of a stolen PIN number

could mean unauthorized access at an ATM” and that customers whose account

information was hacked “risk having [their] checking account wiped out”).




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       Like the analogy at the beginning of this memorandum to a front door lock whose

key has been copied and stolen, the payment cards associated with the hacked accounts

immediately lost their ability to function as intended—i.e. to provide secure access only

to the cardholder. The Issuing Banks needed to change or cancel the accounts whose

information was compromised, and then issue new physical payment cards associated

with that new account information, to keep the assets of the cardholders safe. See id. ¶ 2

(listing actions undertaken by the Issuing Banks in response to the data breach); ¶ 85

(alleging Issuing Banks “are primarily responsible for paying for card replacement”).

And, of course, once the Issuing Banks took the necessary task of cancelling or changing

the account information, the “old” payment cards lost any ability to access the funds or

credit lines of the cardholders (safely or not).

                       b)    ACE’s Counterarguments Have No Merit

       ACE does not appear to dispute that the payment cards could no longer safely be

used as payment cards after the data breach. Nevertheless, ACE has at various times

raised three arguments for why it contends that there has been no “loss of use”: (1) the

plastic payment cards could be used for other purposes after the data breach; (2) even if

there was a loss of use,” it was the cardholder’s use of the card was lost, not the Issuing

Banks’ or Card Brands’ loss of use; and (3) the ACE Policies were intended only to

provide coverage for the temporary “loss of use,” not a permanent loss as occurred here.

Each argument fails.

       First, ACE asserts in its portion of the Rule 26(f) report that even though the data

breach precluded millions of payment cards from being used as intended, the payment


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cards were still “completely useful [for other purposes] as a piece of tangible plastic.”

Dkt. No. 20 at 3. ACE suggests, for example, that “an enterprising Minnesotan could still

use the plastic card to clear a frosted windshield where no ice scraper was available.” Id.

       As an initial matter, the ACE Policies provide coverage for damages that Target

must pay because of a “loss of use” of tangible property that is not physically injured,

without further limitation or qualification. See Lagatta Decl. Ex. A at 30 of 230; Ex. B at

7 of 21. There is no requirement, for example, that the “loss of use” be total as opposed

to partial, or that the tangible property be unable to be converted for a completely

different purpose than the use that was lost. Courts in multiple jurisdictions have been

clear that a CGL policy that simply refers to “loss of use,” without further limitations,

means the loss of any significant use of the property, whether permanent or temporary,

partial or total, diminished or complete. See, e.g., Thee Sombrero, Inc. v. Scottsdale Ins.

Co., 28 Cal. App. 5th 729, 737 (2018) (“[T]he reasonable expectations of the insured

would be that ‘loss of use’ means the loss of any significant use of the premises, not the

total loss of all uses.”) (emphasis in original); Liberty Mut. Ins. Co. v. Wheelwright

Trucking Co., Inc., 851 So. 2d 466, 494-95 (Ala. 2002) (“The failure … to specify the

extent of the loss of use, whether complete uselessness or diminishment in value for a

particular purpose, means that, at a minimum, the provision is ambiguous and therefore

due to be construed against [the insurer].”); Hartzell Indus., Inc. v. Fed. Ins. Co., 168 F.

Supp. 2d 789, 795 (S.D. Ohio 2001) (“The policy does not specify that the loss of use

must be total as opposed to partial.”).




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       Had ACE actually intended to include those additional restrictions in the ACE

Policies it was required to do so expressly and in writing; Minnesota courts “will not

rewrite the insurance contract to provide an exclusion that the insurer could have

[included], but did not, include.” Nerud v. Nat’l Family Ins. Corp., No. CX-94-1702,

1994 WL 695040, at *2 (Minn. Ct. App. Dec. 13, 1994); see also Travertine Corp. v.

Lexington-Silverwood, 683 N.W.2d 267, 271 (Minn. 2004) (“[W]hen a contractual

provision is clear and unambiguous, courts should not rewrite, modify, or limit its effect

by a strained construction.”). Target was sued by the Issuing Banks because the payment

cards lost their ability to safely and securely access the cardholders’ financial accounts.

That the Issuing Banks could have handed out the cards for use as ice scrapers was not a

defense to Target’s potential liability. That “loss of use” alone is sufficient to trigger

coverage.

       ACE’s position also contravenes basic tenets of insurance policy interpretation.

Policy words of “inclusion”—like the grant of coverage in the ACE Policies for damages

caused by the “loss of use of tangible property that is not physically injured”—must be

“broadly construed.” Gen. Cas. Co. of Wis. v. Wozniak Travel, Inc., 762 N.W.2d 572, 575

(Minn. 2009). ACE’s artificial narrowing of that term contradicts this rule of insurance

policy interpretation. In addition, adopting ACE’s interpretation would improperly

render the grant of coverage for such “loss of use” a “practical nullity.” See Piper Jaffray

Cos., Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 967 F. Supp. 1148, 1157 (D.

Minn. 1997) (holding that an interpretation renders a policy provision a “practical

nullity” is “disfavored in Minnesota, for ‘liability insurance contracts should, if possible,


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be construed so as not to be a delusion to the insured’”) (citation omitted). An insurer

could always invent some alternative use for any item of tangible property for which

“loss of use” coverage is sought. For example, a machine that melted down in a fire

could still serve as a paper weight. However, no reasonable policyholder would expect

that its insurer could deny coverage for any “loss of use” simply because the affected

tangible property might still hold a stack of papers in place against the wind.

       Finally, ACE’s position is not consistent with Eyeblaster. In that case, the Eighth

Circuit found that the “loss of use” of the underlying plaintiff’s spyware-infected

computer was covered under identical policy language. See Eyeblaster, 613 F.3d at 801-

802. The Eighth Circuit reached this conclusion even though the underlying plaintiff had

alleged that, after repair, the computer retained some basic functionality while continuing

to suffer from “numerous pop-up ads; a hijacked browser that communicates with

websites other than those directed by the operator; random error messages; slowed

computer performance that sometimes results in crashes; and ads oriented toward his past

web viewing habits.” Id. at 800. That the underlying plaintiff did not allege a total “loss

of use” was immaterial to the Eighth Circuit’s decision, as was the obvious fact that—as

ACE might have suggested—the computer was not completely useless because it could

have been repurposed as a paper weight.

       Second, ACE asserts in the Rule 26(f) Report that, even if there was a “loss of

use,” the fact that cardholders lost the use of the payment cards (and not “the Issuing

Banks or Card Brands to which Target’s settlement payments were made”), eliminates

coverage. See Dkt. No. 20 at 3. This position too has no support in the language of the


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ACE Policies. ACE’s standard-form language provides coverage for damages resulting

from any “loss of use of tangible property that is not physically injured.” Lagatta Decl.

Ex. A at 30 of 230. The ACE Policies contain no language suggesting that the “loss of

use” must be experienced by the underlying plaintiff itself (as opposed to the underlying

plaintiff’s customers), let alone language stated in the clear and unambiguous terms

required for ACE to deny coverage on this ground. See Wozniak Travel, 762 N.W.2d at

575 (“words of exclusion are narrowly considered”).

       Instead, the Policies cover Target’s liability to pay damages because of property

damage. See Lagatta Decl. Ex. A at 12 of 230; Ex. B at 7 of 21. Moreover, the

cardholders and the Issuing Banks share the use of the cards—while they are in the

possession of cardholders, they are used by the Issuing Banks as a “key” to access credit

lines held by the banks; they do not serve only the cardholders. See Lagatta Decl. Ex. E

¶ 17. So ACE’s argument that the plaintiffs—the Issuing Banks—had to suffer injury

would not help it even if the insurance policy had included such a limitation.

       Third, ACE argued in its pre-litigation correspondence that no coverage is

available because the “loss of use” provision was intended to cover only the temporary

“loss of use” of tangible property not physically injured, not permanent “loss of use.”

But there is no Minnesota law to support this proposition, particularly when, as here,

ACE did not actually limit the language in its policies to “temporary” loss of use. It may

not rely on a phantom exclusion or enlist the Court to improperly insert it after the fact.

See Nerud, 1994 WL 695040, at *2. In addition, ACE’s argument cannot be reconciled

with the Eighth Circuit’s holding in Eyeblaster. Were ACE correct, the Eyeblaster


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decision could not have been decided as it was, as the Eighth Circuit found “loss of use”

coverage available for the underlying plaintiff’s allegation that he permanently lost the

use of his computer. See Eyeblaster, 613 F.3d at 802.

                                  *         *        *   *

       For these reasons, Target’s liability for the payment card replacement costs falls

within covered damages caused by the “loss of use of tangible property that is not

physically injured.”

       B.     No Exclusions in the ACE Policy Preclude Coverage, and ACE’s
              Purported “Functional Analysis” is Not a Substitute for Policy
              Language

       The burden now shifts to ACE to establish that exclusions or other limitations in

the ACE Policies allow it to avoid coverage. See Wolters, 831 N.W.2d at 636 (“While

the insured bears the initial burden of demonstrating coverage, the insurer carries the

burden of establishing the applicability of exclusions.”) (citation omitted). ACE cannot

satisfy its burden of proof.

              1.       ACE Cannot Avoid Its Coverage Obligations Merely Because
                       Target Had In Place Different Insurance Policies Covering
                       Different Risks

       ACE argues, without citation to authority, that its policies do not cover the

payment card losses because other insurance policies, covering different risks, were

available to Target. That argument fails.

       While it is undisputed that Target had in place at the time of the breach cyber

insurance and director and officer insurance that provided coverage for some of Target’s

data breach losses, that does not allow ACE to avoid its CGL coverage obligations under


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the ACE Policies. Target purchased a contract of insurance from ACE that explicitly

provides coverage for the types of losses that are the subject of this motion, and Target is

not seeking coverage from different towers for the same losses: the cyber insurers paid

their limits of liability for investigation and remediation costs, and the expense of

defending against and settling consumer claims and PCI fines; and the D&O policies paid

for the cost of certain matters related to shareholder derivative litigation following the

data breach. Lagatta Decl. ¶¶ 17-18.

        Neither tower indemnified Target for the cost of resolving claims for “loss of use”

of payment cards, and the ACE Policies contain no language allowing ACE to escape its

coverage obligations for the “loss of use” claims merely because Target maintains

different insurance policies covering differing risks and different losses arising from the

data breach. Target is not seeking a “double recovery” for the losses that other insurers

paid.

              2.     ACE’s “Functional Analysis” Cannot Revive the “Electronic
                     Information” Exclusion Deleted from the ACE Policies

        In prior communications, ACE eschewed its insurance policy language for a so-

called “functional analysis,” a doctrine that is occasionally employed in New York. In

that state, courts will sometimes consider the “common sense meaning of the terms that

describe the policy’s coverage vis-à-vis other insurance” to determine the purpose of the

coverage provided relative to other insurance policies. See Jefferson Ins. Co. of N.Y. v.

Travelers Indem. Co., 92 N.Y.2d 363, 372 (N.Y. 1998). In other words, under this

analysis, coverage depends not on the language of the insurance policy but on the losses



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that the court decisions conclude should fall under this type of coverage (as opposed to

another type of coverage), regardless of what the insurance policy actually says. But that

gets ACE nowhere for three principal reasons.

       First, the “functional analysis” argument is a creature of New York law. See id.

(“New York applies ‘a functional analysis to separate lines of insurance, and an insurance

policy should be read in light of the role it is to play’”). Target has not been able to

locate a single Minnesota decision applying the concept. Accordingly, Minnesota

policyholders like Target bargain for coverage with the reasonable expectation that this

non-Minnesota doctrine will not apply to the policies that they purchase. ACE cannot

simply import a doctrine used by another jurisdiction to restrict coverage provided by

insurance policies governed by Minnesota law.

       Second, a “functional analysis” is inconsistent with Minnesota law. It is hornbook

law in Minnesota that insurance policies are interpreted based on the plain meaning of the

language actually contained in the insurance policy, not the unspoken intent of one of the

parties. See, e.g., Wolters, 831 N.W.2d at 636; C.S. McCrossan Inc. v. Fed. Ins. Co., 932

F.3d 1142, 1145 (8th Cir. 2019). Moreover, it is not uncommon, let alone prohibited (as

ACE suggests), for different lines of insurance to provide overlapping coverage. In fact,

the Eighth Circuit in Eyeblaster held that the underlying plaintiff’s claim was covered

under both Eyeblaster’s CGL policy as well as its Information and Network Technology

Errors or Omissions policy. See 613 F.3d at 801-802, 804-805. To the extent that ACE

sought to exclude from its CGL coverage anything that might also be covered by another

type of insurance policy, it was required to bargain for such an exclusion and agree with


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Target to include that limiting language in the ACE Policies. See Nerud, 1994 WL

695040, at *2. It never did so.

       Third, the original text of the ACE Policy had an express exclusion for loss of use

of electronic data. But ACE deleted that exclusion, reflecting an express intent to include

loss of use of electronic data as a covered property damage loss. That is, the “body” of

the ACE Primary Policy contains Exclusion T, an “Electronic Data” exclusion that bars

coverage for:

                Damages arising out of the loss of, loss of use of, damage to,
                corruption of, inability to access, or inability to manipulate
                electronic data.

Lagatta Decl. Ex. A at 18 of 230. However, ACE deleted this Exclusion from the as-

issued ACE Policies, through Endorsement 18, which provides:

                The following exclusions under SECTION I COVERAGES,
                COVERAGE A BODILY INJURY AND PROPERTY
                DAMAGE LIABILITY, 2. Exclusions are deleted: . . .
                t. Electronic Data.

Id. at 83 of 230. Had ACE intended to exclude coverage for loss of use of property in the

form of electronic data, such as the financial account data accompanying each payment

card, ACE would have kept the exclusion in its policies. Having expressly agreed to

delete this exclusion, ACE cannot take the position that the limits on coverage that it

expressly deleted are still part of the contract of insurance. Nor can it evade its express

deletion of the limiting language by invoking an out-of-state “functional analysis”

argument. Instead, its “liability is governed by the language of the insurance policy.”

Eng’g. & Constr., 825 N.W.2d at 704.



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              3.     Other Exclusions Do Not Apply.

       ACE raises the Contractual Liability Exclusion and the Impaired Property

Exclusion as potential bases to deny coverage in its fifth affirmative defense. See Dkt.

No. 15 at 9. To the extent that ACE pursues these purported defenses, there is no

reasonable interpretation of either of them that could preclude coverage here.

       This is because the Contractual Liability exclusion bars coverage only for liability

that Target assumed from a third party by contract. See Lagatta Decl. Ex. A at 13 of 230

(“This insurance does not apply to: … ‘[P]roperty damage’ for which the insured is

obligated to pay damages by reason of the assumption of liability in a contract or

agreement.”); see also Goodyear Tire & Rubber Co. v. Dynamic Air, Inc., No. 02–1218

(DWF/JSM), 2004 WL 2501196, at *5 (D. Minn. Nov. 4, 2004) (contractual liability

exclusion only excludes coverage “for damages the insured must pay by reason of the

assumption of liability of a third party in a contract or agreement, such as an

indemnification or agreement to hold harmless”). Target did not face or settle any claims

for such assumed liability arising out of the data breach. See Lagatta Decl. Ex. E ¶¶ 100-

126; Ex. H at 5 of 41. In fact, no breach of contract claims whatsoever were ever pleaded

against or settled by Target. Id. The Court can and should reject ACE’s argument

concerning the Contractual Liability Exclusion on this ground alone.

       But even if Target had assumed such third party liability, the Contractual Liability

Exclusion would still not apply. The exclusion does not bar coverage for liability that the

policyholder would face even in the absence of the contract assuming third party liability,

such as negligence or statutory claims. See Lagatta Decl. Ex. A at 13 of 230


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(“[E]xclusion does not apply to liability for damages … [t]hat the insured would have in

the absence of the contract or agreement.”); see also Auto-Owners Ins. Co. v. NewMech

Cos., Inc., 678 N.W.2d 477, 483 (Minn. Ct. App. 2004) (contractual liability exclusion

did not bar coverage for insured homebuilder that contractually assumed liability for

repair costs because it was also “legally liable” under statutory warranties). These are

precisely the types of claims Target settled. See Lagatta Decl. Ex. E ¶¶ 100-126 (class

action complaint asserting negligence and statutory claims against Target).

       Nor can ACE rely on the Impaired Property Exclusion. It bars coverage for

property damage arising out of defects in Target’s “products” or “work,” or out of

Target’s failure to perform in accordance with a contract. See Lagatta Decl. Ex. A at 16,

27, 31 of 230; Ex. C at 7, 10-11 of 113. But the “loss of use” of the payment cards did

not arise out of any faulty products Target supplied or any of its work under, or failure to

comply with the terms of, any contract. Rather, the Issuing Banks alleged that Target

breached a duty to protect customers’ financial information by negligently securing its

electronic systems. Lagatta Decl. Ex. E ¶¶ 2, 15-16, 22-24, 76-83, 100-126; see also

Eyeblaster, 613 F.3d at 802-03 (finding impaired property exclusion inapplicable).

       In fact, in pre-suit correspondence ACE conceded that the Impaired Property

Exclusion would not apply so long as Target sought costs only for the replacement of the

payment cards (as opposed to restoring them to use). See Lagatta Decl. ¶ 19 & Ex. J at 5

of 5. No payment cards could be “restored to use,” and so Target and ACE should agree

that the Impaired Property Exclusion does not apply.




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V.    CONCLUSION

      For the foregoing reasons, the Court should grant Target’s motion for partial

summary judgment.

Dated: May 25, 2020                             Covington & Burling LLP

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